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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

UNITED STATES OF AMERICA

VS.                                                       CRIMINAL NO. 4:20-CR-00269-Y

ERIC PRESCOTT KAY

                        GOVERNMENT’S ADMITTED EXHIBIT LIST


 EXHIBIT                  DESCRIPTION
 NUMBER                    OF EXHIBIT                 IDENTIFIED      OFFERED      ADMITTED


      1        T.S. phone                              2/9/2022        2/9/2022     2/9/2022


      2        T.S. phone extraction                   2/10/2022       2/10/2022   2/10/2022


          2b   T.S. phone extraction report            2/10/2022       2/10/2022   2/10/2022

               T.S. phone report of forensic
          2c                                           2/10/2022       2/10/2022   2/10/2022
               examination


          2d   Directions to Open Exhibit 2            2/10/2022       2/10/2022   2/10/2022


      3        T.S. contact list                       2/10/2022       2/10/2022   2/10/2022

               T.S. phone timeline from 12:00 am
      4        PT on June 30, 2019 to 2:23 pm CT       2/10/2022       2/10/2022   2/10/2022
               on July 1, 2019 (UTC)
               T.S. text messages from 12:00 am
      5        PT on June 30, 2019 to 2:23 pm CT       2/10/2022       2/10/2022   2/10/2022
               on July 1, 2019 (UTC)

               Photos of T.S.’s phone from June
      6                                                2/10/2022       2/10/2022   2/10/2022
               30, 2019 to July 1, 2019

               Text messages between T.S. and
      7        C.S. from June 30, 2019 (PT) to July    2/10/2022       2/10/2022   2/10/2022
               1, 2019 (CT) (UTC)
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          Text messages between T.S. and
   8                                            2/10/2022       2/10/2022   2/10/2022
          T.B. on July 1, 2019 (UTC)

          Goodnight text messages between
   9      T.S. and C.S. on July 30, 2018        2/10/2022       2/10/2022   2/10/2022
          (UTC)
          Goodnight text messages between
   10     T.S. and C.S. on July 31, 2018        2/10/2022       2/10/2022   2/10/2022
          (UTC)
          Goodnight text messages between
   11     T.S. and C.S. on June 21, 2019        2/10/2022       2/10/2022   2/10/2022
          (UTC)

          Group cowboy photo from June 30,
   12                                           2/8/2022        2/8/2022    2/8/2022
          2019 (UTC)

          Text messages between T.S. and
   15     Eric Kay from June 30, 2019 to July   2/10/2022       2/10/2022   2/10/2022
          1, 2019 (UTC)

          Text messages between T.S. and
   16                                           2/10/2022       2/10/2022   2/10/2022
          M.M. on September 29, 2016 (UTC

          Text messages between T.S., M.M.,
   17                                           2/10/2022       2/10/2022   2/10/2022
          and Eric Kay on June 1, 2017 (UTC

          Text messages between T.S. and
   18                                           2/10/2022       2/10/2022   2/10/2022
          M.M. on June 14, 2017 (UTC)

          Text messages between T.S., M.M.,
   19                                           2/10/2022       2/10/2022   2/10/2022
          and Eric Kay on July 8, 2017 (UTC)

          Text messages between T.S. and
   20                                           2/10/2022       2/10/2022   2/10/2022
          M.M. on March 19, 2018 (UTC)

          Text messages between T.S. and
   21                                           2/10/2022       2/10/2022   2/10/2022
          M.M. on March 19, 2018 (UTC)

          Text messages between T.S. and
   22                                           2/10/2022       2/10/2022   2/10/2022
          C.C. on May 21, 2018 (UTC)
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          Text messages between T.S. and
   23                                          2/10/2022       2/10/2022   2/10/2022
          C.C. on May 21, 2018 (UTC)

          Text messages between T.S. and
   24                                          2/10/2022       2/10/2022   2/10/2022
          C.C. on July 13, 2018 (UTC)

          Text messages between T.S. and
   25                                          2/10/2022       2/10/2022   2/10/2022
          C.C. on August 1, 2018 (UTC)

          Text messages between T.S. and
   26                                          2/10/2022       2/10/2022   2/10/2022
          C.C. on May 12, 2019 (UTC)

          Text message between T.S. and
   27                                          2/10/2022       2/10/2022   2/10/2022
          M.H. on June 26, 2019 (UTC)

          Text messages between T.S. and
   28                                          2/10/2022       2/10/2022   2/10/2022
          M.H. on June 27, 2019 (UTC)

          T.S. Google search on June 7, 2019
   29                                          2/10/2022       2/10/2022   2/10/2022
          (UTC)

          Text messages between T.S. and
   30                                          2/10/2022       2/10/2022   2/10/2022
          T.P. on September 16, 2018 (UTC)

          Text messages between T.S. and
   31                                          2/10/2022       2/10/2022   2/10/2022
          R.H. on May 28, 2016 (UTC)

          Text messages between T.S. and
   32                                          2/10/2022       2/10/2022   2/10/2022
          R.H. on May 28, 2016 (UTC)

          Text messages between T.S. and
   33                                          2/10/2022       2/10/2022   2/10/2022
          R.H. on June 21, 2018 (UTC)

          Text messages between T.S. and
   34                                          2/10/2022       2/10/2022   2/10/2022
          R.H. on July 4, 2018 (UTC)

          Text messages between T.S. and
   35                                          2/10/2022       2/10/2022   2/10/2022
          R.H. on August 4, 2018 (UTC)
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           Text messages between T.S. and
   36                                           2/10/2022       2/10/2022   2/10/2022
           R.H. on April 12, 2019 (UTC)

           Text messages between T.S. and
   37                                           2/10/2022       2/10/2022   2/10/2022
           G.R. on December 26, 2016 (UTC)

           Group text messages (with T.S.) on
   38                                           2/10/2022       2/10/2022   2/10/2022
           December 27, 2017 (UTC)

           Cowboy photo (live) from June 30,
   39                                           2/10/2022       2/10/2022   2/10/2022
           2019 (UTC)

           Cowboy photo (live) from June 30,
     39b                                        2/10/2022       2/10/2022   2/10/2022
           2019 (UTC) extraction report

           Screenshot of cowboy photo from
   40                                           2/10/2022       2/10/2022   2/10/2022
           June 30, 2019 (UTC)

           714-234-3916 Verizon phone
   41                                           2/10/2022       2/10/2022   2/10/2022
           records

           714-234-3916 Verizon subscriber
   42                                           2/10/2022       2/10/2022   2/10/2022
           information

           714-591-6020 T-Mobile phone
   45                                           2/11/2022       2/11/2022   2/11/2022
           records

           714-591-6020 CDR mediations
   46                                           2/11/2022       2/11/2022   2/11/2022
           spreadsheet

           714-591-6020 T-Mobile subscriber
   47                                           2/11/2022       2/11/2022   2/11/2022
           information

           714-805-2912 T-Mobile phone
   50                                           2/11/2022       2/11/2022   2/11/2022
           records

           714-805-2912 subscriber
   51                                           2/11/2022       2/11/2022   2/11/2022
           information
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           310-560-4389 Verizon phone
   54                                          2/9/2022        2/9/2022    2/9/2022
           records

           310-560-4389 subscriber
   55                                          2/9/2022        2/9/2022    2/9/2022
           information

           310-916-7222 Verizon subscriber
   59                                          2/14/2022       2/14/2022   2/14/2022
           info

           310-916-7222 Verizon billing
   60                                          2/14/2022       2/14/2022   2/14/2022
           records

           Photographs from Angel Stadium
   61                                          2/14/2022       2/14/2022   2/14/2022
           Search Warrant

           714-602-0688 Verizon phone
   62                                          2/14/2022       2/14/2022   2/14/2022
           records

           Eric Kay Controlled Substance
   63      Utilization Review & Evaluation     2/14/2022       2/14/2022   2/14/2022
           System data

           714-381-5308 T-Mobile subscriber
   83                                          2/11/2022       2/11/2022   2/11/2022
           information


   85      H.V. phone                          2/10/2022       2/10/2022   2/10/2022



   86      H.V. phone extraction               2/10/2022       2/10/2022   2/10/2022



    86b    H.V. phone extraction report        2/10/2022       2/10/2022   2/10/2022



     86c   Directions to Open Exhibit 86       2/10/2022       2/10/2022   2/10/2022

           Text messages between H.V. and JB
   87      from July 21, 2020 to August 7,     2/10/2022       2/10/2022   2/10/2022
           2020 (UTC)
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          Southlake Fire Department response
   88                                          2/9/2022       2/9/2022    2/9/2022
          record


   90     United Airlines manifest             2/9/2022       2/9/2022    2/9/2022



   91     United Airlines flight information   2/9/2022       2/9/2022    2/9/2022



   92     Gold Coast Tours bus records         2/9/2022       2/9/2022    2/9/2022



   93     June 30, 2021 official scorecard     2/9/2022       2/9/2022    2/9/2022



   94     911 Call [audio]                     2/9/2022       2/9/2022    2/9/2022



   95     Crime scene photos                   2/9/2022       2/9/2022    2/9/2022



   96     White plastic pen tube – Item 8      2/9/2022       2/9/2022    2/9/2022


          Photos of white plastic pen tube –
   97                                          2/9/2022       2/9/2022    2/9/2022
          Item 8 evidence package


   98     Keycard – Item 1                     2/9/2022       2/9/2022    2/9/2022


          Photos of Keycard – Item 1 evidenc
   99                                          2/9/2022       2/9/2022    2/9/2022
          package


  100     Keycard – Item 2                     2/9/2022       2/9/2022    2/9/2022


          Photos of Keycard – Item 2 evidenc
  101                                          2/9/2022       2/9/2022    2/9/2022
          package
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  102     White pill bottle – Item 4             2/9/2022        2/9/2022    2/9/2022


          Photos of white pill bottle – Item 4
  103                                            2/9/2022        2/9/2022    2/9/2022
          evidence package


  104     White substance on tape – Item 5       2/9/2022        2/9/2022    2/9/2022


          Photos of white substance on tape –
  105                                            2/9/2022        2/9/2022    2/9/2022
          Item 5 evidence package

          White powder residue from desk –
  106                                            2/9/2022        2/9/2022    2/9/2022
          Item 3

          Photos of white powder residue from
  107                                            2/9/2022        2/9/2022    2/9/2022
          desk – Item 3 evidence package

          Recording of Eric Kay’s interview
  109                                            2/10/2022       2/10/2022   2/10/2022
          from July 1, 2019

          Transcription of Eric Kay’s
  110                                            2/14/2022       2/14/2022   2/14/2022
          interview from July 1, 2019


  111     C.L.’s Chase bank records              2/14/2022       2/14/2022   2/14/2022



  112     C.L.’s Chase bank records              2/14/2022       2/14/2022   2/14/2022



  113     TCME file                              2/11/2022       2/11/2022   2/11/2022



  114     TCME file: additional notes            2/11/2022       2/11/2022   2/11/2022



  117     Photographs from autopsy               2/10/2022       2/10/2022   2/10/2022
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  118     Autopsy report                        2/10/2022       2/10/2022   2/10/2022



  119     Toxicology report                     2/11/2022       2/11/2022   2/11/2022



  120     TCME pill analysis                    2/11/2022       2/11/2022   2/11/2022


          TCME laboratory report on white
  123                                           2/11/2022       2/11/2022   2/11/2022
          residue


  125     Hilton room list                      2/14/2022       2/14/2022   2/14/2022



  126     Hilton status report                  2/14/2022       2/14/2022   2/14/2022



  127     Room 367 access records               2/14/2022       2/14/2022   2/14/2022



  128     Room 469 access records               2/14/2022       2/14/2022   2/14/2022


          Shitf4 transactions and
  129                                           2/14/2022       2/14/2022   2/14/2022
          accompanying receipts


  133     Razor blade                           2/14/2022       2/14/2022   2/14/2022



  134     Small metal cylinder with screw cap   2/14/2022       2/14/2022   2/14/2022



  135     Brown sunglasses case                 2/14/2022       2/14/2022   2/14/2022



  136     OfferUp emails involving Eric Kay     2/14/2022       2/14/2022   2/14/2022
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          OfferUp Eric Kay user account
  137                                           2/14/2022       2/14/2022   2/14/2022
          information dated October 1, 2019

          OfferUp Eric Kay user account
  138     information and communications        2/14/2022       2/14/2022   2/14/2022
          dated August 9, 2021
          Summary exhibit of communication
  140     between 714-234-3916, 714-591-
                                                2/11/2022       2/11/2022   2/11/2022
          6020, 714-805-2912, and 310-560-
          4389
          Summary exhibit of communication
  141     between 714-234-3916 and 714-381      2/11/2022       2/11/2022   2/11/2022
          5308
          Summary exhibit of communication
  142     between 714-381-5308, 714-591-
                                                2/11/2022       2/11/2022   2/11/2022
          6020, 714-234-3916, 310-560-4389
          and 714-805-2912
          Summary exhibit of communication
  143     between 714-381-5308, 714-805-        2/11/2022       2/11/2022   2/11/2022
          2912 and 714-591-6020

  145     Eric Kay’s Venmo records              2/14/2022       2/14/2022   2/14/2022



  147     Lab report of razor blade             2/14/2022       2/14/2022   2/14/2022



  148     Case detail report for razor blade    2/14/2022       2/14/2022   2/14/2022


          Lab report of small metal cylinder
  149                                           2/14/2022       2/14/2022   2/14/2022
          with screw cap

          Case detail report for small metal
  150                                           2/14/2022       2/14/2022   2/14/2022
          cylinder with screw cap


  151     Lab report of brown sunglasses case   2/14/2022       2/14/2022   2/14/2022

          Case detail report for brown
  152                                           2/14/2022       2/14/2022   2/14/2022
          sunglasses case
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   153     Lab report of pink pills             2/14/2022      2/14/2022   2/14/2022



   159     Grand Jury immunity order            2/15/2022      2/15/2022   2/15/2022



   160     Trial immunity order                 2/15/2022      2/15/2022   2/15/2022



   161     CAST FBI cellular analysis report    2/11/2022      2/11/2022   2/11/2022



   162     C.L. location data summary           2/14/2022      2/14/2022   2/14/2022



   163     Photo of T.S. and C.S.               2/15/2022      2/15/2022   2/15/2022



   164     Photo of T.S. and D.H.               2/9/2022        2/9/2022    2/9/2022


           Angels Stadium of Anaheim
   165                                          2/14/2022      2/14/2022   2/14/2022
           schematic


   166     Schematic of Anaheim office layout   2/14/2022      2/14/2022   2/14/2022



   167     SEALED                               2/14/2022      2/14/2022   2/14/2022



   176     Summary chart timeline               2/15/2022      2/15/2022   2/15/2022


           Photos of Exhibit 7: toxicology
   177                                          2/10/2022      2/10/2022   2/10/2022
           specimens

           Photos of Exhibit 7.1: subclavian
   178                                          2/10/2022      2/10/2022   2/10/2022
           blood
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   179     Photos of Exhibit 7.2: femoral blood   2/10/2022      2/10/2022   2/10/2022



   180     Photos of Exhibit 7.3: femoral blood   2/10/2022      2/10/2022   2/10/2022



   181     Photos of Exhibit 7.4: urine           2/10/2022      2/10/2022   2/10/2022


           Photos of Exhibit 7.5: vitreous
   182                                            2/10/2022      2/10/2022   2/10/2022
           humor


   183     2019 Angels baseball schedule          2/14/2022      2/14/2022   2/14/2022


           Map of Los Angeles and
   188                                            2/9/2022        2/9/2022    2/9/2022
           surrounding cities


   190     Stipulations of Fact                   2/15/2022      2/15/2022   2/15/2022



   191     C.L. Compulsion to Testify             2/14/2022      2/14/2022   2/14/2022
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                                  Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served on counsel for the
defendant in accordance with the Federal Rules of Criminal Procedure on the 16th day of
February, 2022.

                                         s/ Joseph Lo Galbo____________
                                         JOSEPH LO GALBO
                                         Assistant United States Attorney
